
Green, J.
delivered the opinion of the court.
The court is of the opinion that the charter of the Union Bank of this State is a public law, and need not be given in evidence.
1. A bank is created upon public considerations, to subserve public ends, and not for private purposes only. Its notes are intended to constitute the currency of the country, thereby becoming a medium of exchange for the public benefit. The profits that the stockholders may receive are incidental, but are not the primary object in passing the charter. Although, therefore, the corporation may be correctly denominated a private corporation, yet the law creating it is a public law.
2. Evidence of user under the charter is prima facie proof that the conditions which the charter required to be performed, precedent to the time that the bank was to go into operation, have been performed.
• 3. Repeated recognitions by the legislature, in various public laws, of the Union Bank asa legally existing corporation, is so far as third persons are concerned, conclusive evidence of such legal existence, against which, in this collateral way, no evidence of the non-fulfilment of the conditions upon which such legal existence was made dependant by the charter can be heard. Let the judgment be affirmed.
